Case 3:51-cv-01247-JO-SBC Document1 Filed 01/25/51 PagelD.219 Page1of1

MAP NUMBER ONE (1)
STATE OF CALIFORNIA

%, UNITED STATES EARL WARREN, GOVERNOR SAN CLEMENTE QUADRANGLE
® DEPARTMENT OF THE INTERIOR C. H. PURCELL, DIRECTOR OF PUBLIC WORKS CALIFORNIA ae
~ GEOLOGICAL SURVEY EDWARD HYATT, STATE ENGINEER 7.5 MINUTE SERIES (TOPOGRAPHIC) ee

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Mapped, edited, and published by the Geological Survey © Irrigation or camp supply SCALE 1:24000 Sheet Six(6) of Eight(8) e
Control by USGS, USC&GS and US Navy © Unused, domestic : 4 3 sue ROAD CLASSIFICATION Ye -
Topography from aerial photographs by multiplex methods qg Destroyed . — ——t t HARD-SURFACE ALL WEATHER ROADS DRY WEATHER ROADS <<
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Polyconic projection. 1927 North American datum Medium-duty... — ESNElE LANE Unimproved dirt eecenen “,
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Mission Viejo grants were established by private survey & DATUM 18 MEAN SEA LEVEL .
Dashed land lines indicate imate location SHORELINE SHOWN REPRESENTS THE APPROXIMATE LINE OF MEAN HIGH WATER ard & E Sts. San Diego Phone M-31 71 SAN C LEM ENTE, CALIF.

asned tang lines | abProxim Dee ntON vero THE AVERAGE RANGE OF TIDE IS APPROXIMATELY 4 FEET MAPS BLUEPRINTS PHOTOSTATS N 3322.5-—-W 1 1730/7.5

THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS

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